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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Criminal Case No.     14-cr-00231-WJM

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 1.      RICKY GARRISON,
         a/k/a “G,”
 2.      JAMES TILLMON,
         a/k/a “Black,”
         a/k/a “Kevin Garner,”
 3.      CHRISTOPHER MARTINEZ,
         a/k/a “Little C,”
 4.      FRANCISCO AGUILAR,
 5.      SIMEON RAMIREZ,
 6.      CHRISTOPHER VIGIL,
 7.      TRAVIS EDWARDS,
 8.      DONDRAI FISHER,
         a/k/a “Abdul Halim Aswad Ali,”
         a/k/a “Don Blas,”
 9.      ARCHIE POOLE,
 10.     LUIS RAMIREZ,
         a/k/a “Julian,”
 11.     MELVIN TURNER,
         a/k/a “Mellow,”
 12.     SHAWN BEARDSLEY,
 13.     SIDNEY TAYLOR,
 14.     GREGORY WILLIAMS,
 15.     ROBERT PAINTER,
 16.     LATOYA WIMBUSH,

                Defendants.


                           MOTION TO RESTRICT DOCUMENT


         The United States of America, by and through United States Attorney John F. Walsh and

 the undersigned Assistant United States Attorney, respectfully moves to restrict document and

 attachments, any order revealing the contents of that document, and the brief filed in support of
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 this motion, for the reasons stated in the brief filed in support of this motion. The United States

 requests a “Level 2" Restriction which would make the document and attachment, any order

 revealing the contents of that document and the brief filed in support of this motion, “Viewable

 by Selected Parties & Court” only.

        Respectfully submitted June 3, 2016.

                                                      JOHN F. WALSH
                                                      UNITED STATES ATTORNEY
                                                      DISTRICT OF COLORADO

                                               BY:    s/ Zachary Phillips
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